               CASE 0:06-cv-01548-RHK-JSM Doc. 95 Filed 08/29/07 Page 1 of 5




                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MINNESOTA
       ________________________________________________________________________

       Aljuan C. Hixon,                 ) Case No. 06-Civil 1548 (RHK/JSM)
                                        )
                    Plaintiff,          )
                                        )
             v.                         )           PLAINTIFF’S
                                        )          EXHIBIT AND
       City of Golden Valley,           )   AMENDED WITNESS LIST
       Dennis Arons,                    )
       Mario Hernandez,                 )
       David Kuhnly, and                )
       Christine McCarville,            )
                                        )
                    Defendants.         )
       ________________________________________________________________________

       Presiding Judge:             Plaintiff’s Attorneys         Defendants’ Attorneys
       Richard H. Kyle              Andrew Parker, Esq.           Jon K. Iverson, Esq.
                                    Anthony Edwards, Esq.         Susan M. Tindal, Esq.
       Trial Date:                  Court Reporter:               Courtroom Deputy:
       September 10, 2007

Plf.    Def.    Date                                   Description of Exhibits and Witnesses
No.     No.    Offered    Marked   Admitted
                                                                       Exhibits
1                                             Incident Report – Obstruction Charge (GDPA 0001-2)
2                                             Incident Report – Narrative – Hernandez (GDPA 0003-6)
3                                             Incident Report – Narrative – McCarville (GDPA 0007-
                                              11)
4                                             Incident Report – Narrative – Arons (GDPA 0012-5)
5                                             Incident Report – Narrative – Smith (GDPA 0016-18)
6                                             Arrest Report – Hixon (GDPA 0018A-19)
7                                             Statement of Brian Dahlberg 4/4/05 (GDPA 0055-58)
8                                             Incident Report – Robbery Charge (GDPA 0023-7, 0034-
                                              48)
9                                             GVPD Press Release 4/2/05 (Blad Depo Ex. 44)
10                                            Criminal Complaint Referral re Hixon (GDPA 0022)
11                                            Minnesota Statutes § 609.50 –
                                              Obstructing Legal Process with Force
12                                            Correspondence 4/18/05 confirming request of Deputy
                                              Chief to not prosecute. (Johnson Depo. Ex. 52)
     CASE 0:06-cv-01548-RHK-JSM Doc. 95 Filed 08/29/07 Page 2 of 5




13                              Correspondence 4/14/05 to Police Chief requesting
                                preservation of all radio communication regarding
                                robbery and subject incident. (Blad Depo. Ex. 43)
14                              Correspondence regarding request for all radio
                                communications related to the 4/2/05 incident:
                                6/28/05 letter to City from Andrew Parker (Loomis
                                Depo. Ex. 42); 8/10/05 letter to Allen Barnard from
                                Andrew Parker (Blad Depo. Ex. 45); 8/11/05 letter to
                                Andrew Parker from Allen Barnard; 8/23/05 letter to
                                Allen Barnard from Andrew Parker (Blad Depo. Ex. 47);
                                9/6/05 letter to Andrew Parker from Allen Barnard (Blad
                                Depo Ex. 48); and 10/3/05 correspondence to Allen
                                Barnard from Andrew Parker (Blad Depo. Ex. 49).
15                              Transcript of all radio communications related to robbery
                                and subject incident. (GV 053-6)
16                              Incident Recall Record from Dispatch. (GV 049-52)
17                              E-mail 4/4/05 from Police Chief to City Manager re:
                                Employee Complaint Procedures and Hixon
                                investigation. (GV 035)
18                              Correspondence 5/2/05 from Al Hixon to Mayor Loomis.
                                (GV 005-11)
19                              Correspondence 5/2/05 from Al Hixon to Mayor Loomis.
                                (GV 012-5)
20                              Correspondence 5/12/05 from Police Chief to Al Hixon
                                regarding investigation. (GV 016)
21                              Deputy Chief Roger Johnson’s Finding that Al Hixon’s
                                Complaint is Unfounded 6/23/05 (Johnson Depo. Ex. 53)
22                              GVPD Use of Force Continuum. (GV 10002)
23                              The “Reasonableness” Test and Fleeing Felon Rule.
                                (GDPA 0496; McCarville Depo. Ex. 20; Hernandez
                                Depo. Ex. 2)
24                              Aerial Photograph of Sinclair Station
25                              John R. Shirriff C.V. (AH 1648-50; Shirriff Depo. Ex.
                                30)
26                              Ginny Jacobs C.V.
27                              Emergency Room Record 4/2/05. (AH 0004-8)
28                              Health Partners Medical Records 4/3/05-5/12/05. (AH
                                0051-2, 0163-5, 0041-50, 0154)
29                              4/28/05 Fax from Plaintiff to Rita McQuee (sic) (AH
                                0042-3)
30                              Health Partners Medical Records 6/8/05-6/29/05. (AH
                                0031-2, 34-6, 38-40, Shirriff Depo. Ex. 34)
31                              Health Partners Insurance Non-Renewal Letter 10/25/05.
                                (AH 0494)
32                              BHSI Records. (AH 0642-51; Shirriff Depo. Ex. 36)
33                              Cris Johnston IME and MMPI/VIP Interpretive Report.


                                   2
     CASE 0:06-cv-01548-RHK-JSM Doc. 95 Filed 08/29/07 Page 3 of 5




                                (Shirriff Depo. Ex. 37)
34                              Courage Center Records. (AH 1623-30, 1640-4, Shirriff
                                Depo. Ex. 38)
35                              Harvard Mental Health Letter: August 2007 “Rethinking
                                Posttraumatic Stress Disorder”. (AH 1641-4; Shirriff
                                Depo. Ex. 39)
36                              Valley Wellness Clinic Records. (AH 0704)
37                              Center for Diagnostic Imaging Records. (AH 1031-3)
38                              Advanced Medical of Twin Cities Records. (DEF
                                00303-9)
39                              Summary Chart of Total Medical Expenses 8/16/07.
40                              Itemized Medical Bills from North Memorial Health
                                Care, North Ambulance, Health Partners, Valley
                                Wellness, Center for Diagnostic Imaging, BHSI, Courage
                                Center and Advanced Medical (AH 0693, 1655, 0640,
                                0695-8, 0700, 0703, 0752, 1658, 1631-4, 1638-9)
41                              Excerpts of Golden Valley Police Department Field
                                Training Materials on use of Aerosol Irritants Including
                                Pepper Spray. (GDPA 0107, 0127-9)
42                              Golden Valley Police Department Use of Force and
                                Firearms Policy – GP 8.09. (GDPA 0148-55)
43                              Golden Valley Police Department Policy on
                                Investigating Complaints Against Employees – GP 8.07.
44                              Anthony Bouza C.V.
                                                         Witnesses
1                               Aljuan Hixon – will testify regarding his personal
                                knowledge of the events of 4/2/05 involving Defendants
                                and thereafter.
2                               Sheri Hixon – will testify regarding her personal
                                knowledge of the events of 4/2/05 and their impact on
                                Plaintiff.
3                               Ron Feist - may testify regarding the events of 4/2/05.
4                               Dave Greenwood - may testify regarding the events of
                                4/2/05.
5                               Dennis Arons - may testify regarding the events of
                                4/2/05.
6                               Kelly Blad - may testify regarding the events of 4/2/05
                                and requests by Plaintiff for information and the GVPD’s
                                dispatch system.
7                               Mario Hernandez - may testify regarding the events of
                                4/2/05.
8                               Christine McCarville - may testify regarding the events
                                of 4/2/05.
9                               Brian Dahlberg - may testify regarding the events of
                                4/2/05.



                                   3
     CASE 0:06-cv-01548-RHK-JSM Doc. 95 Filed 08/29/07 Page 4 of 5




10                              Andrew Willenbring - may testify regarding the events of
                                4/2/05 and the GVPD’s dispatch system.
11                              Angel Jensen - may testify regarding the events of 4/2/05
                                and the GVPD’s dispatch system.
12                              Jill Hanson - may testify regarding the events of 4/2/05
                                and the GVPD’s dispatch system.
13                              Roger Johnson - may testify regarding the events of
                                4/2/05 and investigation thereafter.
14                              Craig Smith - may testify regarding the events of 4/2/05.
15                              Mayor Linda Loomis – may testify regarding the City’s
                                handling of the 4/2/05 incident.
16                              Former Police Chief Robert Hernz – may testify
                                regarding the GVPD’s handling of the 4/2/05 incident.
17                              Allen Barnard, Esq. – may testify regarding the City’s
                                response to Plaintiff’s Government Data Practices
                                request.
18                              Anthony Bouza, Former Chief, Minneapolis Police
                                Department – will testify regarding excessive use of
                                force as it relates to Plaintiff’s arrest on 4/2/05.
19                              Ginny Jacobs, MA, MS, LMFT, LP - will testify
                                regarding mental health counseling services provided to
                                Plaintiff at BHSI.
20                              John Shirriff, Psychiatrist – will testify regarding
                                psychiatric services provided to Plaintiff at BHSI.
21                              Rita McKee, NP-A – will testify regarding health care
                                services provided to Plaintiff at Health Partners.
22                              Dr. Douglas Wilson – will testify regarding health care
                                services provided to Plaintiff at Health Partners.
23                              Dennis Hodgdon - may testify regarding the impact this
                                incident has had on Plaintiff.
24                              Dr. Verna Price - may testify regarding caretaking of
                                Plaintiff’s children following the incident of 4/2/05 and
                                the impact the subject incident has had on Plaintiff and
                                his family.
25                              Custodian of Medical and Billing Records for Health
                                Partners.
26                              Custodian of Medical and Billing Records for BHSI.
27                              Custodian of Medical and Billing Records for Courage
                                Center.
28                              Custodian of Medical and Billing Records for Valley
                                Wellness.
29                              Custodian of Medical and Billing Records for Center for
                                Diagnostic Imaging.
30                              Custodian of Medical and Billing Records for Advanced
                                Medical of Twin Cities.


                                   4
             CASE 0:06-cv-01548-RHK-JSM Doc. 95 Filed 08/29/07 Page 5 of 5




31                                             Custodian of Medical and Billing Records for North
                                               Memorial Medical Center.
32                                             Custodian of Medical and Billing Records for North
                                               Ambulance.
33                                             David Foley – will testify regarding measurements taken
                                               at Golden Valley Sinclair station.

            Plaintiff reserves the right to call any witness listed by Defendants and any other

     rebuttal witness not listed above for purposes of rebuttal, and other witnesses, if

     necessary, to provide proper foundation for medical records, photographs and

     documentary evidence to the extent not stipulated prior to trial.

     Dated this 29th day of August, 2007

                                               Respectfully submitted,

                                               PARKER ROSEN, LLC


                                               By: s/Andrew D. Parker
                                                  Andrew D. Parker        #195042
                                                  Anthony G. Edwards      #342555
                                                  133 First Avenue North
                                                  Minneapolis, Minnesota 55401
                                                  Telephone: (612) 767-3000

                                               ATTORNEYS FOR PLAINTIFF




                                                  5
